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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

             Debtors.                                               (Jointly Administered)



    FTX TRADING LTD. and MACLAURIN
    INVESTMENTS LTD.,

    Plaintiffs,

                            -against-                               Adv. Pro. No. 23-50437 (JTD)
    LOREM IPSUM UG, PATRICK GRUHN,
    ROBIN MATZKE, and BRANDON
    WILLIAMS,

    Defendants.


    THIRD AMENDED 2 NOTICE OF AGENDA FOR STATUS CONFERENCE
     SCHEDULED FOR JANUARY 24, 2024 AT 2:00 P.M. (ET), BEFORE THE
HONORABLE JOHN T. DORSEY AT THE UNITED STATES BANKRUPTCY COURT
   FOR THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET
 STREET, 5TH FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801

                                   This hearing will be conducted by Zoom only.

                          Parties may observe the hearing remotely by registering no
                                 later than January 23, 2024 at 4:00 p.m.

    To attend this hearing remotely, please register using the eCourt Appearances tool on the
                            Court’s website at www.deb.uscourts.gov.


1     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
      4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
      Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2     Amended items appear in bold.



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MATTERS GOING FORWARD:

1.       Motion of the United States Trustee for Entry of an Order Directing the Appointment of an
         Examiner [D.I. 176, filed on December 1, 2022]

         Related Documents:

         A.       State of Wisconsin’s Joinder to the Motion of the United States Trustee for Entry
                  of an Order Directing the Appointment of an Examiner [D.I. 263, filed on
                  December 21, 2022]

         B.       Vermont Department of Financial Regulation’s Joinder to Motion for Entry of an
                  Order Appointing an Examiner [D.I. 339, filed on January 3, 2023]

         C.       Notice of Motion of the United States Trustee for Entry of an Order Directing the
                  Appointment of an Examiner [D.I. 513, filed on January 17, 2023]

         D.       Objection of the Official Committee of Unsecured Creditors to Motion of the
                  United States Trustee for Entry of an Order Directing the Appointment of an
                  Examiner [D.I. 571, filed on January 25, 2023]

         E.       Limited Objection and Response of the Joint Provisional Liquidators of FTX
                  Digital Markets Ltd. to the Motion of the United States Trustee for Entry of an
                  Order Directing the Appointment of an Examiner [D.I. 572, filed on January 25,
                  2023]

         F.       Debtors’ Objection to Motion to Appoint Examiner Filed by U.S. Trustee [D.I. 573,
                  filed on January 25, 2023]

         G.       Declaration of James L. Bromley in Support of Debtors’ Objection to Motion of
                  the United States Trustee for Entry of Order Directing the Appointment of an
                  Examiner [D.I. 576, filed on January 25, 2023]

         H.       Notice of Debtors’ Intent to Offer Witness Testimony at the Hearing on February 6,
                  2023 [D.I. 583, filed on January 25, 2023]

         I.       Joinder of the Texas State Securities Board and Texas Department of Banking to
                  the Motions of the United States Trustee, State of Wisconsin, and Vermont
                  Department of Financial Regulation for Entry of an Order Directing the
                  Appointment of an Examiner [D.I. 600, filed on February 1, 2023]

         J.       United States Trustee’s Omnibus Reply to Objections to Motion for Entry of an
                  Order Directing the Appointment of an Examiner [D.I. 601, filed on February 1,
                  2023]

         K.       United States Trustee’s Intention to Offer Witness Testimony [D.I. 609, filed on
                  February 2, 2023]



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         L.       Declaration of Brian D. Glueckstein in Further Support of Debtors’ Objection to
                  Motion of the United States Trustee for Entry of Order Directing the Appointment
                  of an Examiner [D.I. 613, filed on February 3, 2023]

         M.       Final Pretrial Order [D.I. 617, filed on February 3, 2023]

         N.       Certification of Counsel [D.I. 745, filed on February 21, 2023]

         O.       Order Denying Motion for the Appointment of an Examiner [D.I. 746, entered on
                  February 21, 2023]

         P.       Notice of Appeal and Statement of Election [D.I. 805, filed on March 6, 2023]

         Q.       Exhibit A to Notice of Appeal [D.I. 809, filed on March 6, 2023]

         R.       Designation of Items to be Included in the Record on Appeal [D.I. 1122, filed on
                  March 20, 2023]

         S.       Statement of Issues to be Presented on Appeal [D.I. 1123, filed on March 20, 2023]

         T.       Motion of the United States Trustee to Certify Direct Appeal to the Court of
                  Appeals Under 28 U.S.C. § 158(d) [D.I. 1142, filed on March 23, 2023]

         U.       Notice of Filing of Attachment to Designation of Items to be Included in the Record
                  on Appeal [D.I. 1391, filed on April 28, 2023]

         V.       Memorandum Opinion [D.I. 1540, entered on May 30, 2023]

         W.       United States Trustee’s Notice of Disposition of Appeal Pursuant to Local Rule
                  8024-1 [D.I. 6117, filed on January 22, 2024]

         X.       Notice of Status Conference on Motion of the United States Trustee for Entry of an
                  Order Directing the Appointment of an Examiner [D.I. 6119, filed on January 22,
                  2024]

         Y.       Debtors’ Letter to the Honorable John T. Dorsey Regarding Status Conference to
                  Discuss the Appointment of an Examiner [D.I. 6168, filed on January 23, 2024]

         Z.       Official Committee of Unsecured Creditors’ Letter to the Honorable John T.
                  Dorsey Regarding Status Conference to Discuss the Appointment of an Examiner
                  [D.I. 6362, filed on January 24, 2024]

         AA.      Dr. Marcel Lötscher and Ms. Martha Lambrianou’s Letter in Response to
                  Debtors’ Letter Concerning the Forthcoming Examiner’s Investigation [D.I.
                  6364, filed on January 24, 2024]

         Status: This matter is going forward as a status conference.



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2.       Complaint for Avoidance and Recovery of Transfers and Obligations Pursuant to 11 U.S.C.
         §§ 105, 547, 548, and 550, Breach of Fiduciary Duty Pursuant to Antiguan Common Law
         and the Antigua International Business Corporations Act, and for Disallowance of Claims
         Pursuant to 11 U.S.C. § 502(d) [FTX Trading Ltd. et al. v. Lorem Ipsum UG et al., Adv.
         Pro. No. 23-50437 (JTD) – Adv. D.I. 1, filed on July 12, 2023]

         Related Documents:

         A.       Amended Case Management Plan and Scheduling Order [FTX Trading Ltd. et al.
                  v. Lorem Ipsum UG et al., Adv. Pro. No. 23-50437 (JTD) – Adv. D.I. 68, entered
                  on January 3, 2024]

         B.       Letter to Judge Dorsey Regarding Update on Case Management Plan and
                  Scheduling Order Filed by Patrick Gruhn, Lorem Ipsum UG, Robin Matzke [FTX
                  Trading Ltd. et al. v. Lorem Ipsum UG et al., Adv. Pro. No. 23-50437 (JTD) – Adv.
                  D.I. 71, filed on January 15, 2024]

         C.       Letter to The Honorable John T. Dorsey Regarding Mediation Filed by FTX
                  Trading Ltd., Maclaurin Investments Ltd. [FTX Trading Ltd. et al. v. Lorem Ipsum
                  UG et al., Adv. Pro. No. 23-50437 (JTD) – Adv. D.I. 72, filed on January 16, 2024]

         D.       Notice of Status Conference [FTX Trading Ltd. et al. v. Lorem Ipsum UG et al.,
                  Adv. Pro. No. 23-50437 (JTD) – Adv. D.I. 74, filed on January 22, 2024]

         Status: This matter is going forward as a status conference.




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Dated: January 24, 2024                        LANDIS RATH & COBB LLP
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